        Case
      Case   3:05-cr-00395-JL
           3:05-cr-00395-CRB    Document 316
                                Document 319    Filed 04/19/2006
                                                Filed 04/28/06 Page 1 of
                                                                 Page    1 1
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 1
                       IN THE UNITED STATES DISTRICT COURT
 2
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3

 4

 5   UNITED STATES OF AMERICA,                 ) NO. CR 05-00395 CRB
                                               )
 6                          Plaintiff,         ) [PROPOSED] ORDER MODIFYING
                                               ) CONDITIONS OF RELEASE
 7
       vs.                                     )
 8                                             )
     CHANG SOO YOUN, et al.                    )
 9                                             )
                            Defendant.         )
10                                             )
11        Good cause appearing,
12
     IT IS HEREBY ORDERED that Chang Soo Youn’s release conditions be
13
     MODIFIED to allow travel outside the district provided he obtains
14
     approval in advance of any such travel from Pretrial Services.                              All
15

16   other conditions not inconsistent with this order shall remain in

17   full force and effect.
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     SO ORDERED
                                                                        DERED
                                               UNIT




                                                                O OR
20                                                      IT IS S
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21               April 27, 2006
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                                                                        M. Che
     DATED ___________________                 ______________________________
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                                               NO




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22                                                    JudgeEDWARD
                                               HONORABLE                M. CHEN
                                                                                         FO




                                               UNITED STATES MAGISTRATE JUDGE
                                                RT




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